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                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION


        UNITED STATES OF AMERICA                  Case No. I:19dm50


              vs.                                 Alexandria, Virginia
                                                  September 12, 2019
        JOHN DOE 2010R03793,                      4:00 p.m.

                         Defendant.               SE

                                                7

                           TRANSCRIPT OF CONTEMPT HEARING
                       BEFORE THE HONORABLE ANTHONY J. TRENGA
                            UNITED STATES DISTRICT JUDGE


        APPEARANCES:


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                 COMPUTERIZED TRANSCRIPTION OF STENOGRAPHIC NOTES




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